                     Case 3:19-cr-00279-CRB Document 54 Filed 01/22/20 Page 1 of 2




     1    DAVrD L. ANDERSON (CABN 149604)
          United States Attorney
     2
          HALLTE HOFFMAN (CABN 210020)
     J    Chief, Criminal Division

     4    cHRrsTrNA LrU (CABN 308362)
          Assistant United States Attorney
     5
                    450 Golden Gate Avenue, Box 36055
     6              San Francisco, California 9 41 02-3 49 5
                    Telephone: (415) 436-7 199
     7              FAX: (415) 436-7234
                    chri stina. 1i u@usdoj gov
                                        .


     8
          Attomeys for United States of America
     9
                                              TINITED STATES DISTRICT COURT
 10
                                            NORTHERN DISTRICT OF CALIFORNIA
 11
                                                  SAN FRANCISCO DIVISION
 12

 13       LINITED STATES OF AMERICA.                           ) NO. 19-279 CRB
                                                               )
 I4                 Plaintiff,                                 ) NOTICE OF DISMISSAL
                                                               )
 15           v                                                )
                                                               )
 t6       JOSE RODzuGUEZ.                                      )
                                                               )
 17                 Defendant.                                 )
                                                               )
 18

19                  With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the
                                                                                                           United
20        States   Attomey for the Northern District of California dismisses the above indictment
                                                                                                  against Jose
2l       Rodriguez without prej udice.

22

23       DATED: O I %\           aoAo                                  Respectfully submitted,
24
                                                                       DAVID L. ANDERSON
25                                                                     United States Attorney

26

27                                                                               HO FFMAN
                                                                       Chief, Criminal Division
281

         NOTICE OF DISMISSAL
         No. CR 19-279 CRB
                                                                                                    v.7/10/2018
             Case 3:19-cr-00279-CRB Document 54 Filed 01/22/20 Page 2 of 2




 1           Leave is granted to the government to dismiss the indictment against Jose Rodriguez.

 2

 J

 4   Date:
                                                               HON. CHARLES R. BREYER
 5                                                             United States District Judge

 6

 7

 8

 9

l0
l1

t2

l3
t4

l5
t6
17

18

t9
20

2l
22

23

24

25

26

27

28

             OF DISMISSAL
             9-279 CRB
                                                                                            v.711012018
